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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



CANARD HERNDON,
D.O.C. # 305460,

      Plaintiff,

v.                                                          4:21cv366–WS/MAF

OFFICER MALLARD, OFFICER
WHITEHEAD, and SERGEANT EMSLY,

      Defendants.



                    ORDER DIRECTING TRANSFER OF CASE

      Before the court is the magistrate judge's report and recommendation (ECF

No. 4) docketed September 7, 2021. The magistrate judge recommends that this

action be transferred to the Middle District of Florida. No objections to the report

and recommendation have been filed.

      The court having reviewed the matter, it is ORDERED:

      1. The magistrate judge's report and recommendation (ECF No. 4) is adopted

and incorporated by reference in this order of the court.
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      2. The clerk shall TRANSFER this action to the United States District Court

for the Middle District of Florida, Jacksonville Division, for all further

proceedings.

      DONE AND ORDERED this               8th      day of    October     , 2021.




                                 s/ William Stafford
                                 WILLIAM STAFFORD
                                 SENIOR UNITED STATES DISTRICT JUDGE
